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Attorneys for Plaintiff
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — EASTERN DIVISION

KEVIN ADAMS
, Case No.: EDCV 12-1577 JAK (SPx)
Plaintiff,
VS. NOTICE OF SETTLEMENT
THE LAW OFFICE OF KEVIN Z:
SHINE, PLLC.; and DOES 1 to 10,
inclusive,
Defendants.

 

 

PLEASE TAKE NOTICE that this matter has been settled in its entirety. It is

respectfully requested that all pending hearings be taken off calendar.

RESPECTFULLY SUBMITTED,
DATED: January 15, 2013 PRICE LAW GROUP APC
By: /S/G, Thomas Martin, JI]

G. Thomas Martin, II
Attorney for Plaintiff

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NOTICE OF SETTLEMENT

 

 
